Case 3:13-cV-OO482-I\/|.]R-DGW Document 2 Filed 05/22/13 Page 1 of 18 Page |D #3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF lLLlNOIS
BENTON DIVISION

VILLAGE OF DIX, ILLINOIS, TRIAL BY JURY

FoXXXY LADYZ ADULT WoRLD, INC., )
and DlRT CHEAP, INC._, )
)

Plaintiffs, ) NO. 13-482

) WDs/DGW
)
V- )

) PLAINTIFFS DEMAND

)
)
)

Defendant.

VERIFIED COMPLAINT FOR DECLARATORY AND IN,|UNCTIVE RELIEF,
I)AMAGES. AND ATTORNEY'S FEES

NOW C-OME Plaintif`fs, FOXXXY LADYZ ADULT WORLD, INC. and DIRT CHEAP
INC., complaining of VILLAGE OF DIX, an Illinois Municipality, (“DIX") and allege as
follows:

INTRODUCTION

This case results from a local governments attempt to censor speech which it disfavors.
Defendant DIX is attempting to impose an unconstitutional restraint on the dissemination of
erotic speech through its local ordinances in violation of the First Amendment to the Unit'ed
States Constitution and Article V, §16_, lllinois Constitution of 1970.

PAR'I`IES JURISDICTION AND VENUE

l. Plaintit`f FOXXXY LADYZ ADULT WORLD INC., (“Foxxxy Ladyz”) is a corporation

organized under the laws of the State of Illinois, with its principal place of business in

Jefferson County, lllinois.
2. Plaintiff DIRT CHEAP, INC., (“Dirt Cheap”) is a corporation organized under the laws

of the State of Illinois, with its principal place of business in Jefferson County, lllinois.
3. Plaintiff DIRT CHEAP purchased the real estate located at 304 North Duncan Lane, DIX,

Illinois on October 1, 2010.

Case 3:13-cv-OO482-|\/|.]R-DGW Document 2 Filed 05/22/13 Page 2 of 18 Page |D #4

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Plaintit`l FOXXXY LADYZ operates an entertainment establishment on the property
owned by Dirt Cheap, including the presentation of constitutionally protected erotic
entertainment
Det`endant DIX is a Village organized under the laws of the State ot`lllinois and is located
in Jefferson County, lllinois.
All references to Defendant DIX are, inter alia. understood to include any and all ot` its
departments, agents, oft`icials, and employees
Unless otherwise noted, the acts of these employees and agents were also done under
the color and pretense of the statutes, ordinances, regulations, customs and usages ot`
Det`endant DIX._ and its divisions, pursuant to the official custom, habit. or policy of
Defendant DIX, under color of its authority
This Court has jurisdiction over the claims raised herein pursuant to 28 U.S.C.
1331, l343 and 42 U.S.C. 1981 1988.
Venue is appropriate in the Southern District of lllinois, since the acts complained ot`
occurred within that District.

FACTUAL ALLEGATIONS
On October l, 2010, Plaintiff DIRT CHEAP purchased commercial property located at
304 North Duncan Lane. within the boundaries of DIX1 lllinois. That real estate is
located near an lnterstate highway, on the other side of the highway and a considerable
distance from any residences or schools There are no land use regulations or business
licensing ordinances or regulations which would regulate, control or prohibit adult
business establishments at this location.
Shortly after the purchase oi` the real estate, DlRT CHEAP began operating an
entertainment establishment known as Club 57 at that location, which included erotic
entertainment The business does not serve alcoholic beverages to its customers. but does

allow those customers to bring alcoholic liquor onto its premises if they wish.

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Immediately after DIRT Cl-IEAP commenced the operation of Club 57'. Defendant Dix
began enacting local ordinances which` while purporting to be applicable to all operations
within the town, are actually applicable only to Plaintiff, which operates virtually the only
business within the boundaries of the Village of Dix which is open to the public.

On December 14, 2010` DIX adopted Ordinance No. 2010-04, which purports to prohibit
the possession of any open container containing alcoholic liquor._ or consumption of
alcoholic liquor in public, including on "any property_. including privately owned, which
is open to or held out for use by the public or is otherwise available to the public." A
copy of that Ordinance is attached hereto as Exhibit "."A

On December 14, 2010. DIX adopted an Ordinance No. 2010~05. which purports to
prohibit any person from appearing nude or "in a state of nudity" in a "public place." A
"‘public place” is defined is "`any location frequented by the public or where a person may
reasonably be expected to be observed by members of the public or any location that is
readily visible to the public or any place to which the public has a right to go or is
invited." A copy of that Ordinance is attached hereto as Exhibit `“B.”

On December 14, 2010, DlX adopted an Ordinance No. 2010-06` which purports to
prohibit any business from permitting the possession of alcoholic liquor on its premises
That ordinance states: “This Ordinance specifically, but without limitation, prohibits all
establishments generically known or referred to as "BYOB" (bring your own
booze/bottle/beer) or “Brown Bag” establishments or bottle clubs or set up
establishments A copy of that Ordinance is attached hereto as Exhibit “C

ln enacting these Ordinances, DlX conducted no studies, nor did it refer to or gather any
other evidence which provided any information that the operation of Plaintiffs" business

caused any adverse secondary effects

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DlX adopted these ordinances solely based upon its objection to the content of the
entertainment offered by Plaintiffs at their business They were adopted solely for thc
purpose of interfering with Plaintiffs’ business, and suppressing the entertainment
offered to willing customers.

Plaintiff FOXXXY LADYZ was incorporated in 2012. Thereafter it assumed the
operation of the business under the name FOXXXY LADYZ pursuant to an oral lease
with DIRT CHEAP. The nature of the operation of the business remained virtually the
same as before.

After the club opened for business, law enforcement officials from surrounding
jurisdictions began harassing Plaintiffs and their customers, including conducting
surveillance of customers who patronized Plaintiffs’ business; entering Plaintiffs’ place ot`
business and questioning their customers, setting up road blocks immediately adjacent to
Plaintiffs` premises and interrogating all customers leaving Plaintiffs" business and
otherwise generally harassing l3‘laintiffs1 customers-.

'l`he Village of Dix has no police Department. Plaintiffs are informed and believe that
this activity by law enforcement officials of surrounding governmental entities was at the
specific instance and request of the officials of DIX.

As a result of this harassing activity by law enforcement officials. many of Plaintiffs`
former customers have ceased patronizing Plaintiffs‘ business for fear of being arrested
and harassed in other ways by law enforcement officers

At no time has either DlRT CHEAP or F()XXXY LADYZ or any of its employees been
charged with violating any laws during or in conjunction with the operation of that

entertainment business

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Case 3:13-cv-OO482-|\/|.]R-DGW Document 2 Filed 05/22/13 Page 5 of 18 Page |D #7

On l\/lai‘ch lS. 2013, DIX sent a letter to Plaintifi"s with the legend `“NOTICE TO ABATE
NUISANCE AND TO CEASE VIOLATION OF VILLAGE ORDTNANCES." A copy of
that letter is attached hereto as Exhibit "D." In that letter, DIX threatens to tal<e legal
action against Plaintiffs as a nuisance
24. 'fhe accusations against Plaintiffs contained in that letter regarding the condition of the
premises in and around Plaintiffs’ business are fabricated and untrue.
Plaintiffs have been required to retain counsel to enforce their rights, and are obligated to
pay reasonable attorney's fees to its attorneys

LEGAL ALLEGATIONS
26. All actions referenced above and taken by Defendant DiX were under the color of state
law_
27. Fl`he right to disseminate adult~orien'ted entertainment is protected by the First
and Fourteenth Amendments to the United States Constitution.
28. Defendant DIX's ordinances set forth above are content based, and the ordinance banning
all public nudity constitutes a significant restraint on free speech, as nude dancing is
protected by the First Amendment.
29. Defendant DlX has identified no information which would supply any justification for the
enactment of the ordinances set forth above, which on their face do not identify the
significant governmental interest which these Ordinances are attempting to vindicate
30. DlX's ordinances fail to serve a substantial or significant government interest, and are not
narrowly tailored to serve any such interest
DlX‘s ordinances were adopted with a predominately censorial purpose and without any

legitimate governmental reason.

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DlX's ordinances are over-broad and violate the First and Fourteenth Amendments to the

United States Constitution on their face, and as applied to Plaintiffs.

Case 3:13-cv-OO482-|\/|.]R-DGW Document 2 Filed 05/22/13 Page 6 of 18 Page |D #8

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DlX`s ordinances are invalid as applied to Plaintiffs. The complete ban on the offering of
constitutionally protected erotic entertainment is not the least restrictive means available
for any permissive regulation of that conduct.
Taken together, DlX’s ordinances make it practically impossible for Plaintit`fs to operate
their entertainment business in which they have invested thousands of dollars.
The enactment of these ordinances by Defendant DlX was for the sole purpose of
interfering with Plaintiffs` ability to operate their law business Enforcement of these
ordinances against Plaintiffs will deprive them of their property rights without due
process of law.
The threat by DIX to take action against FOXXXY LADYZ for the alleged maintenance
ofa public nuisance places Plaintiffs in fear that Defendant will further interfere with
their operation of a lawful business protected by the First and Fourteenth Amendments to
the United States Constitution.
Plaintiff FOXXXY hADYZ is legally entitled to disregard an unconstitutional prior
restraint on free speech. and engage in protected expression with impunity.
DIX has not been granted the power to prevent the consumption of alcohol in public
places, and its attempt to do so is arbitrary and capricious and violates the provisions of
the lllinois Constitution of 19'/'0, Article l §§ and Ai'ticle Vll §7
COUNT I

Declaratory Reliet`
Plaintiffs reallege the allegations contained in Paragraphs l-38
This an action for Declaratory Reliefpursuant to 42 U.S.C. 2201 and 2202.
There is an actual, bona tide controversy between Plaintiffs and Defendant Village of
D[X in that Plaintiffs contend that the subject ordinances are interfering with the lawful
operation of their business and are unconstitutional on their face. and as applied in

violation of the First and Fourteenth Amendments to the United States Constitutionq

Case 3:13-cv-OO482-|\/|.]R-DGW Document 2 Filed 05/22/13 Page 7 of 18 Page |D #9

whereas Defendant DIX presumably contends that its ordinances and actions are

constitutional_
42. Plaintiffs are uncertain with regard to their rights and responsibilities in connection with

the business and expression prohibited under the subject ordinances

WHEREFORE._ Plaintiffs FOXXXY LADYZ and DlRT CHEAP request that this Court
enter a Declaratory Judgement finding that the subject ordinances are unconstitutional on their
face and as applied to Pla`intiffs" business operation, and further award court costs incurred in
prosecuting this action including a reason-able attorney‘s fee pursuant to 42 U.S.C . 1988, and such
further relief pursuant to 28 U.S.C. 2202 as this Court may deem appropriatel

COUNT ll

Injunctive Relief

43. Plaintiffs reallege the allegations contained in Paragraphs 1-38.
44. This is an action for injunctive relief
45. Defendant DIX has the actual and present ability to continue to enforce the subject

Ordinances, and to punish Plaintiffs for offering constitutionally protected entertainment
by continuing to cause local law enforcement officers to continue to harass Plaintiffs and
their customers as `it has done in the past.

46. The mere existence of the prior restraint on free speech causes a chilling effect on
protected expressionl

47. Deprivation of First Amendment Rights constitutes irreparable injury, per se.

48. Any harm to Defendant DlX resulting froin the issuance of an injunction is substantially
outweighed by the harm to Plaintiffs caused by the depravation of cherished First
Amendment Rights.

49. lt is always in the public interest to protect constitutional freedoms by enjoining
unconstitutional laws

50. Any legal remedy is per se inadequate when loss of Fir'st Amendment rights is

Case 3:13-cv-OO482-|\/|.]R-DGW Document 2 Filed 05/22/13 Page 8 of 18 Page |D #10

involved

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Injunctive relief is appropriate upon a declaration that a law is unconstitutional.
WHEREF()RE, Plaintiffs respectfully request that this C ourt grant the following relief:
A. Declare DIX’S Ordinances described herein to be unconstitutional, both on their face
and as applied to Plaintiffs FOXXXY LADYZ. LLC. and DIRT CHEAP lNC.

B. Hold a hearing, and temporarily and permanently enjoin Defendant from applying and
enforcing its Ordinances in whole or in part` against Plaintiffs, or continuing any practice of
harassing Plaintiffs and their customers for the purpose of interfering with their offering of
constitutionally protected erotic entertainment
D. Award Plaintiffs their attorney‘s fees and costs pursuant to 42 U.S.C. 1988.

E_ Award Plaintiffs such other and further relief as this Court deems tit_. just. and

equitable
COUNT lIl
Darnages for Intcntionally Interfering with Plaintiff` s Business Operations
52. Plaintiffs reallege the allegations contained in Paragraphs l-BS.

53. The harassment of Plaintiffs and their customers under color of law, is a deprivation of
Plaintiffs` right to operate its business in a lawful manner without due process oflaw.

54. As a direct and proximate result of the actions of Defendant herein. Plaintiffs’ customers
have ceased patronizing Plaintiffs` business causing Plaintiffs’ business to diminish, and
interfering with its rights to offer constitutionally protected entertainment for a profit.

55. The damage to Plaintiffs is continuing, and will continue as long as DIX persists in its
illegal actions against Plaintiffs. making it impossible for Plaintiffs to determine the

amount of monetary damages it will suffer in the future due to Defendant’s actions

Case 3: - - - `
13 cv 00482 |\/|.]R-DGW Document 2 Fl|ed 05/22/13 Page 9 of 18 Page |D #11

WHEREFORE. Plaintiffs pray that the C.ourt award it any and all damages proximately

caused by the actions of the Del`endant, in an

attorneys fees and costs of suit herein pursuant to

Of counsel:

Poltrock & Giampietro

123 W. Madison St., Suite 1300
Chicago, Illinois 60602

312 236 0606; Fax 312 236 6492
wgiampietro@wpglawyers.com

ROGER B. WEBBER
BECKETT & WEBBER PC

PO BOX 17'160

508 S. BROADWAY
URBANA, IL 61803-7160

217 328 0263; Fax 217 328 0290
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amount to bc determined at a trial hereinq plus its

42 U.S.C. §1988_

S/Wayne B. Giampietro,
One ofPlaintiffs’ attorneys

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Case 3:13-cv-OO482-|\/|.]R-DGW Document 2 Filed_05/22/13 Page 10 of 18 Page |D #12

DECLAR:*:'!:IQN
(28 U.S.C. 13 1746)
T Mic`nael Eteieers, do declare as follows ADULT wURLD' INC’ md DIRT

both FOXXXY LAD'YZ

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l have executed this Declaration on May

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AN ORDI.NANCE PROHIBITING 'I`HE
CONSUMP'HON AN`D/OR POSSF.SS[ON
OF OI’EN ALCOHOL IN PUBLIC PLACES

WHEREAS. the Village of Dix, situated in Rome Townstiip, Iei`ferson County,
illinois is a Villagc where the sale at retail of alcoholic liquor is prohibited by law as each
ol` the Village ot' Dix and Rome Township are "dry" as that term is used and understood

under lllinois Statutes; and

WHER_EAS. the Board of Trustees of the Village of Dix believes that the prohibition
on the recall sale and public consumption of alcoholic liquor within the Corporate Lirnits of
the V'iltage ot' Dix is in the public interest to maintain social order, health, well`are. and safety

of citizens; and

WHEREAS, the Board ot`Trustees desires to prohibit the possession of open alcohol `
in public places and to prohibit the consumption of alcoholic liquor in public places; and

\WEREAS, the Board ol'Tnistees desire to preserve the “dry" status of the Village
ot` Dix co the fullest extent permitted by law.

NOW. 'I'HEREFORE, BE I'I` ORDAINED by the Board of Trustees of the V`illage of
Dix, Illinois as follows:

No person shall possess any open container ot` alcoholic liquor or consume alcoholic
liquor or rransport or carry any alcoholic liquor except on the original package with
the seal unbroken upon any public property or public place as herein defined within
the corporate limits of the Vi_llage ot' Dix. “Alcoholic Liquor" includes alcohol,
spirits wine, and beer and every liquor or solid1 patented or not, containing alcohol,
spirits wine or beer and capable of being consented ns a beverage by shuman being
"Alcoholic liquor” shall not include any liquid or solid containing one half of one
percent or less of alcohol by volume or alcohol used in the manufacturing Of
denaturccl alcohol produced in accordance with Acts of Congress. “Public property”
or "Public Place" means any public street. alley1 sidewalk, or public way, or any
property owned by the United .Srates, the State of lllinois. or other State or
Municipality, or other political subdivision or agency thereof, or any property,
including privately owned, which is open to or held out for use by the public or is
otherwise available to the public. This Ordinance shall not be construed so as to
violate any superceding state or federal law.

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Case 3:13-cv-OO4 -
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Any person who violates or refuses to comply with the provisions ol' this Ordinance
lshall upon conviction the:col bc fined not less than 15 100 ll() nor more than $751'} lli}
t`or each violation; each instance ul' public possession ot ot public possession and
consumption shall be a separate punishable offense ln addition to any other fine
authorized by law any person who violates or refuses to comply with this Ordinance
shall be subject to an action for an injunction to eliminate or pt event violation of this

Ordmance.

'l`his Ordinance shall be in l`ull force and effect l`ron'l and after its passage, approval
and publication as required by law.

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ORD\NM:L,¢M<,Q_Q.
HIBITING PUBLLC NUDITY

 

l\N ORD[NANCE`. PRO

WHERE,P\S. Ordinance Nurnber ‘-). Section 7 enacted on Aug,ust iii, 1930 presently
"No person shall appear in any public place in a state ol` nudity` nor in a dress not

dress, or m'- ke any indecent exposure of
his or her pcrson. nor shall

provides
' o his or her,sex, or any indecent or lewd
his or her person, nor shall commit any indecent exposure ot'

decent or lewd act"', and

WHEREAS, thc Bonrrl of'l`rustees of the Village ot` Dth desires to update the above
cited Ordinance to use language which has been approved by the Courts ns consistent with

the illinois and Unitcd States Constitut.ion; and

W`HE,REAS, it is in the public interest to maintain social order, health. wellare, and

safety ot` citizens; and

WHEREAS, the Board of Trus_tees desires to continue the prohibition on public nudity

within the Village of Di:t.

NOW, THEREFORE, BF. l"[` ORDAINED by thc Board of l`rustecs ot' the Village of
Dix that Section 7 ot` Ordinance Number 9 described above is hereby repealed and replaced

by the following Ordinance:
g_o_(_ !rdingnce Prohibitingj’ublic Nugi§¢

No person shall knowingly or intentionally appear nude or in a state ol` nudity in a

public place_

“Pubhc place" means any location frequented by the public or where the public is
present or likely to be present or any location where n person may reasonably be
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expected to be observed by members of the public or any location that is rea
visible to the public or any place to which the public has a right to go or is invited.

°`Nudc" or “State ot` Nudity" means the showing of the human male or female
genitals, pubic nrca, vulva, anus, or anal clet`t or cleav age with less that a fully opaque
covering1 the showing of the female breast with less than a fully opaque covering of
any part of thc nipple and areola, or the showing of the covered male genitals in a

discernibly turgid state.

with the provisions of this Ordinance

Any person who violates or refuses to comply
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shall upon conviction thereof be fined not less than $100_00 nor more th

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for each violation', each instance ol" public nudity :;hall he it separate punishable
offense in addition to any fine or other pt:n~.ilty authorized by luw_ atty pet'soit Who
violates'oi' refuses to comply with this Ordinance shall be subject to :tn action lot an
injunction to.elimimtte ur picvent violation of this Ot‘tlin:mce.

This Ordinance shall he in full Eort:e and affect from ttnd after it.~i pussitg»:.. approval
and publication us required by law.

. . . . 7£, .
PASSED by the Board of Trustces of the Villaigt: ut Dtx this [f-~' day or
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APPROVF.D by the Prt:sident of the Viilzt~g,c ot Dt:t this /}_1;;' day tit
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AT'TEST:

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Villugc Cleri~; '

 

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ORDINANCE PROHIBH`ING 'l`HF» l’OSSESSION OF ALCOH()LIC LIQUOR
`WITHIN BUSLNESSES OPERA'I'ING AS A PUBLIC ACCO`D~¢IMODATIGN

WI~lEREAS, the Viilage of Dix, situated in Rot:oc "l`ownship, Jer`ferson County,
lllinois is n Villsge where the sale at retail of alcoholic liquor is prohibited bylaw ns leach
ot` the Village of Di:t end Rome 'l`ownship are “dry” ss that term is used and understood
under illinois Statutes; and

WHER.EAS, the Board of 'l`rustees of the Villagc of Dix believes that the prohibition
on the retail sale and public consumption of alcoholic liquor within the Corpomte Lirnits of
the V illage of D`i;t has served the public interests in maintaining social order,health, welfare,

and safety of citizens; and

WHEREAS, the Board of Trustces desires to preserve the “dry" status of the Village
of Dth to the fullest extent permitted by law; and

W'HEREAS. the Bonrd of Trustees desires to prohibit the possession of alcoholic
liquor within businesses operating as a public accommodation', end

WHEREAS, the Board of Trustees believes that prohibiting possession of alcoholic
liquor withinbusinesses operating as a public accommodation is conducive to prohibiting the
consumption of alcoholic liquor in public places and is conducive in preserving the benefits
to the citizens of Dix in being a “dry" Village.

N()W, THEREFORE, BE. IT ORDAINED by the Board of 'l`rustees of the Village of
Dix. illinois as follows:

No individusl, partnership corporation or other person opprating as a public
accommodation shall permit the possession of alcoholic liquor (as defined within 235
lI_.CS 511-3.05) on its premises No person shall possess alcoholic liquor upon the
premises of a public accommodationq For purpose of this subsection “Public
Accorrunodotion” means a refreshment, entertainment or recreation facility ot` any
ldnd whose goods , services, f acilities, privileges or advantages are extended offered1
sold or otherwise made available to the public. 'l`his Ordinance specifically, but
without limitation prohibits all establishments generically known or referred to as
“BYOB” (bring your ownboozelbottle/bcc-r) or “Brown Bag” establishments or bottle
clubs or set up establishments Each the person who possesses alcoholic liquor and
the person in-control of the public accommodation who knowingly permits the
possession of alcoholic liquor upon the premises of a public accommodation shall bc
in violation of this Ordinance

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Case 3:13-cv-OO4 - 7 7
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Any person who violates or refuses to comply with the provisions ol` this Ordinance
shall upon conviction thereof be lined not less than $ll){).()() nor more than $750.00
for each violation. Eaeh instance of possession sh all be a separate punishable offense
ln addition.to any line or other penalty authorized by law, any person who violates or
refuses to comply with this Ordinance shall be subject to an action for an injunction
to eliminate or prevent violation of this Ordinance

This Ordinance shall be in full l`orce and effect l"rom and alter its passage approval
and publication as required by law.

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i\/iarcl‘l lS, 2013

Foxxxy Ladyz Adult World, Inc. Foxx)cy Ladyz
Attention: Mike Bicl<ers Attcntion: Managcr
1000 iam street 304 Nsrch Duncan cane
Charlcston, ll 61920 `l`)ix, ll 62330

RH: NOTICE TO ABA'I`E NUISANCE AND TO CEASE Vi.Oi.ATION OF
VILLAGE ORDINANCES

The Board of Trustees of the Village of Dix has received complaints and reports that
Fo)ooty Ladyz is maintaining a nuisance on property situated at 304 North Duncan Lane and is
committing and permitting activities in violation of Village Ordinances The complaints and
reports include bottles, cans, trash, and other debris upon the property and adjoining real estate,
noise and disturbances upon the property including occurrences requiring response from law
enforement, permitting possession and consumption of alcoholic liquor upon the property, and
permitting public nudity upon the property

'l`he nuisance and violations arise from and include the following

A) Violation of Section 6.19, 6.21, and Section 6.22, Subparagraph I-I and Subparagrnph
I of Ordinance 96-1 of the Villnge of Dix. A copy of Ordinance 96-1 is attached

hereto.

B) Violation of Ordinance 2010-06 and 2010»04. Copies of each Ordinance 2010-06
and 20 l0~04 are attached hereto. '

C) Vioiation of Ordinance 2010-05. A copy of Ordinance 2010-05 is attached hereto.

Notice is hereby given to Foxxxy I.adyz and to Fmocxy Ladyz Adult World, lnc. and to
each ofticer, agent, and employee thereof to immediately cease violation of the Village
Ordinances identified above and to cease activities upon the property at 304 North Duncan Lane

that are creating a nuisance Conducting a business and/or permitting activities upon a property
in violation of Village Ordinances constitutes a nuisance `

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Case 3:13-cv-OO - l w - 7
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Penalties for violations of Village Ordinances are set forth within the attached
Ordinances In addition to, or in lieu of imposition of a fine for a violation as provided by the
Ordinances, the real cstate, its owner and its occupant and the ofticcrs, agents, and employees of
each are subject to the imposition of an injunction enjoining the activities and/or enjoining tile
operation of a business that constitutes a nuisance

kmnediate and continued compliance With Village Ordinances is expected and will be

appreciated
c§r\'y Booncy, Presi t

village arose mims
217 Main
7 Dix, rt 62330

